Case 8:25-cv-00951-PX   Document 211-7   Filed 07/02/25   Page 1 of 15




                   EXHIBIT B
           Case 8:25-cv-00951-PX            Document 211-7           Filed 07/02/25       Page 2 of 15




                          UNITED STATES DEPARTMENT OF JUSTICE
                        EXECUTIVE OFFICE FOR IMMIGRATION REVIEW
                            UNITED STATES IMMIGRATION COURT
                                  BALTIMORE, MARYLAND


     IN THE MATTER OF:                               )      IN REMOVAL PROCEEDINGS
                                                     )
                                                     )
     Kilmar Armando ABREGO-GARCIA                    )      File #A 201-577-119
                                                     )
                                                     )
     RESPONDENT                                      )


     INDIVIDUAL HEARING DATE:                        August 9 and September 27, 2019

     CHARGE:                                        Section 212(a)(6)(A)(i) of the Immigration and
                                                    Nationality Act ("INA" or the "Act"), as amended,
                                                    in that the Respondent is an alien present in the
                                                    United States without being admitted or paroled, or
                                                    who arrived in th,e United States at any time or place
                                                    other than as designated by the Attorney General.

     APPLICATIONS:                                   INA§ 208, Asylum; INA§ 241(b)(3), Withholding
                                                     of Removal; Protection Under Article 3 of the
                                                     Convention Against Torture.

                                               APPEARANCES

     ON BEHALF OF RESPONDENT                                        ONBEHALFOFTHEDHS
     Lucia Curiel                                                   Amy Donze-Sanchez
     Khatia Mikadze



                             MEMORANDUM OF DECISION AND ORDER


     I.      Procedural History
             The Respondent is a native and citizen of El Salvador. The Department of Homeland
     Security ("DHS") issued the Respondent a Notice to Appear ("NTA'') on March 29, 2019 which
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     alleged that the Respondent: (1) is not a citizen or national of the United States; (2) is a native and
     citizen of El Salvador; (3) entered the United States at or near an unknown place on or about an

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           Case 8:25-cv-00951-PX           Document 211-7          Filed 07/02/25        Page 3 of 15




     unlmown date; and (4) was not then admitted or paroled after inspection by an irnn:tigration officer.
            At a Master Calendar Hearing the Respondent, through counsel, admitted the factual
     allegations contained in the NTA and conceded removability as charged. Based on the
     Respondent's admissions and concessions, the Court found his removability to be established by
     clear and convincing evidence as required by INA§ 240(c)(3). See also Woodby v. INS, 385 U.S.
     276 (1966). As relief from removal, the Respondent filed a Form I-589, Application for Asylum,
     Withholding of Removal, and Relief under Article 3 of the Convention Against Torture ("CAT").
     The Respondent and his wife both teS(ifi ed in support of the applications. The Court reserved the
     matter for the issuance of a written decision.
            1l1e Court has considered the arguments of both parties and the entire record carefully. The
     following documentary evidence was considered by the Court and admitted into the record: Exhibit
     1, the Notice to Appear; Exhibit 2, the I-213; Exhibit 3, the Respondent's application with all
     supporting documents; and Exhibit 5, Part A, explanation of the wife's pregnant condition while
     testifying. 1 All evidence and testimony admitted has been considered, even if not specifically
     addressed in the decision. Having reviewed the evidence of record and the applicable law, the
     Court's written decision and order now follow.


     II.    Testimonial Evidence Presented
            A. Respondent
            The Respondent is a 24-year old native of El Salvador. He was born in 1995 in Los Nogales
     neighborhood, San Salvador, El Salvador. The Respondent testified that he fears returning to his
     country because the Barrio 18 gang was targeting him and threatening him with death because of
     his family's pupusa2 business. 1be Respondent's mother, Cecilia, ran the business out of her home.
     Although the business had no formal storefront, everyone in the town knew to get their pupusas
     from "Pupuseria Cecilia." The Respondent's father, brother and two sisters all helped run the
     family business. The Respondent's job was to go to the grocery store to buy the supplies needed
     for the pupusas, and then he and his brother would do deliveries four days a week to the people in



     1 Exhibit 4 is a Prince George's County Police Department Gang Field Interview Sheet. It was

     admitted for the limited purpose of showing that the Respondent was labeled a gang member by
     law enforcement.
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       El Salvadorian stuffed tortillas.
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      Case 8:25-cv-00951-PX           Document 211-7         Filed 07/02/25       Page 4 of 15




the town that ordered pupusas from Cecilia.
        At some point, Barrio 18 realized the family was making money from their family business
and they began extorting the Responden!' s mother, Cecilia. They demanded a regular stipend of
"rent" money from the business, beginnmg with a monthly payment and then requiring week! y
payments. The gang threatened to hann the Respondent, his older brother Cesar, and the family in
general if their demands were not met. Alternatively, they told Cecelia that if she could not pay
the extortion money, she could (um Cesar over to them to become part of their gang. The Abrego
family paid the money on a regular basis, whenever they could, and hid Cesar from the gang. On
one occasion, the gang came to the family's home and threatened to kill Cesar if the family did not
pay the rent. The family responded by sending Cesar to the U.S.
       After Cesar left, the gang started recruiting the Respondent. They told Cecilia that she
would not have to pay rent any more if she let him join the gang. The mother refused to let this
happen. The gang then threatened to kill the Respondent. When the Respondent was around 12-
years old, the gang came to the home again, telling Cecilia that they would take him because she
wasn't paying money from the family's pupusa business. The Respondent's father prevented the
gang from taking the Respondent that day by paying the gang all of the money that they wanted.
During the days, the gang would watch the Respondent when he went back and forth to school.
The members of the gangs all had many tattoos and always carried weapons.
       Eventually, the family had enough and moved from Los Nogales to the 10th of October
neighborhood. This town was about IO minutes away, by car, from Los Nogales. Shortly after the
family moved, members of Barrio 18 from Nogales went to the 10th of October and let their fellow
gang members know that the family had moved to that neighborhood· Barrio 18 members visited
the house demanding the rent money from the pupusa business again. They went to the house twice
threatening to rape and kill the Respondent's two sisters and threatening the Respondent. The
Respondent's parents were so fearful that they kept the Respondent inside the home as much as
possible. Finally, the family decided they had to close the pupusa business and move to another
area, Los Andes, about a 15 minute drive from their last residence. Even at this new location, the
family kept the Respondent indoors most of the time because of the threats on his life. After four
months of living in fear, the Respondent's parents sent the Respondent to the U.S.
       Even though the Respondent's father was a former policeman, they family never reported
anything to the police regarding the gang extorting the family business. The gang members had


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            Case 8:25-cv-00951-PX           Document 211-7         Filed 07/02/25        Page 5 of 15




     threatened Cecilia, telling her that if she ever reported anything to the police that they would kill
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     the entire             " ·1 y be1·1eved them, because t hey were we! I aware of the rampant
     corruption of the police in El Salvador and they believed that if they reported it to the police, the
     police would do nothing.
             At present, even though the family has now shut down the pupusa business, Barrio 18
     continues to harass and threaten the Respondent's two sisters and parents in Guatemala.
     Additionally, they have targeted a brother-in-law who now lives with the family.
             B. The Respondent's Wife
             The Respondent's wife also testified, but her testimony related to two other particular
     social groups not reached in this decision. 3


     III.    Eligibility for Asylum. Withholding and CAT Relief
             A.     Asylum
             An applicant for asylum bears the burden of establishing that he meets the definition of a
     refugee under INA § 101 (a)(42)(A), which defines a refugee in part as an alien who is unable or
     unwilling to return to her home country because of persecution, or a well-founded fear of
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     persecution, on account of race, relig10n, nationality, membership in a particular social group, or
     political opinion. Matter ofS-P-, 21 I&N Dec. 486,489 (BIA 1996); 8 C.F.R. § 1208.13(a); INA
     § 208(b)(l)(B). The alien,s fear of persecution must be country-wide. Matter ofAcosta, 19 I&N
     Dec. 211, 235 (BIA 1985). Additionally, the alien must establish that he is unable or unwilling to
     avail himself of the protection of his country of nationality or last habitual residence. INA §
     10l(a)(42)(A); see also Matter ofA-B-, 27 l&N Dec. 316, 325-26 (A.G. 2018). An applicant who
     establishes statutory eligibility for asylum still bears the burden of demonstrating that he merits a
     grant of asylum as a matter of discretion. INA§ 208(b)(l ); see also INS v. Cardoza-Fonseca, 480
     U.S. 421,423 (1987).
             i.     Credibility and Corroboration
             An alien bears the evidentiary burden of proof and persuasion in connection with any



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       The other two particular social groups are: 1) Salvadoran male deportees labeled as MS-13
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     gang members by U.S. law enforcement; and 2) Immediate family of Jennifer Vasquez (the
     Respondent's wife.) The Comt will not address the alternative claims for relief, as it is not
     necessary to do so at this time.
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          Case 8:25-cv-00951-PX            Document 211-7          Filed 07/02/25       Page 6 of 15




     asylum application pursuant to section 208 of the Act. 8 C.F.R. § 1208. B(a); see also Matter of
                                           997)
     S-M-J-, 21 I&N Dec. 722, 723 (BIA 1        ; Matter ofAcosta, 19 I&N Dec. 211,215 (BIA 1985);
     Matter of Mogharrabi, 19 I&N Dec. 439, 446 (BIA 1987). The Board of Immigration Appeals
     (BIA) has recognized the difficulties an asylum applicant may face in obtaining documentary or
     other corroborative evidence to support his claim of persecution· Matter of Dass, 20 l&N Dec.
     120, 124 (BIA 1989). As a result, uncorroborated testimony that is credible, persuasive, and
     specific may be sufficient to sustain the burden of proof to establish a claim for asylum. See INA
     § 208(b)(l)(B)(ii); 8 C.F.R § 1208.13(a); Matter of Mogharrabi, at 445. However, where it is
     reasonable to expect corroborating evidence for certain alleged facts, such evidence must be
     provided as long as the applicant has the evidence or can reasonably obtain it. Matter of S-M-J-,
     21 I&N Dec. at 725. The absence of such corroboration may lead to a finding that an applicant
     has failed to meet his burden of proof. Id at 725-26' The immigration judge must provide the
     applicant an opportunity to explain the lack of corroborating evidence and ensure that the
     applicant's explanation is included in the record. See id.; Lin-Jian v. Gonzales, 489 F.3d 182, 192
     (4th Cir. 2007). The Board has made clear that an asylum applicant cannot meet his burden of
     proof by "general and vague" testimony, and "the weaker an alien's testimony, the greater the need
     for corroborative evidence." Matter ofY-B-, 21 I&N Dec. 1136, I 139 (BIA 1998).
            In the instant matter, the Respondent provided credible responses to the questions asked.
     His testimony was internally consistent, externally consistent with his asylum application and other
     documents, and appeared free of embellishment. Further, he provided substantial documentation
     buttressing his claims. Included in this evidence were several affidavits from family members that
     described the family's pupusa business, and the threats by Barrio 18 to the various family
     members-in particular the Respondent--over the years. The court finds the Respondent credible.
     This finding is applicable to his other two claims as well (withholding under the Act and CAT
     protection).
            ii.     One-Year Filing Deadline
            Under INA § 208(a)(2)(B), an applicant for asylum must demonstrate by clear and
     convincing evidence that the application has been filed within one year after the date of the alien's
     arrival in the United States. Following the Mendez Rojas v. Johnson case (305 F. Supp. 3d 1176
     (W.D. Wash., Mar. 29, 2018)), in a joint stay agreement, the Government agreed to treat pending



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           Case 8:25-cv-00951-PX            Document 211-7           Filed 07/02/25       Page 7 of 15




     asylum applications by four classes of applicants as though filed within one year of arrival. 4 See
     305 F. Supp. 3d at 1179. Members of Class A.II are individuals in removal proceedings who have
     been released from DHS custody after having been found to possess a credible fear of persecution,
     did not receive notice from the DHS of the one-year deadline, and filed an untimely asylum
     application. See id. Members of Class B.II are individuals in removal proceedings who express a
     fear of return to their country of origin, were released from DHS custody without a credible fear
     determination, did not receive notice from the DHS of the one-year deadline, and filed an untimely
     asylum application. See id.
             Here, the Respondent's asylum application is time-barred without exception. INA §
     208(a)(2)(B); 8 C.F.R. § 1208.4(a)(2)' The Respondent testified that he entered the U.S. in 2012.
     However, he did not file his application for asylum until after he was detained in August 2019,
     seven years after his entry into the U.S. aod well-beyond the one-year filing deadline. See Exh. 3.
     He has shown no changed or extraordinary circumstances that would entitle him to relief from the
     one-year bar. See 8 C.F.R. § 1208.4(a)(4) and (5). Based on the foregoing, the Respondent's
     application for asylum is time-barred and must be denied. We tum next to withholding of removal
     under the Act.
             B.       Withholding of Removal Pursuant to INA§ 241(b)(3)
             Withholding of removal, in contrast to asylum, confers only the right not to be deported to
     a particular country rather than the right to remain in the U.S. INS v. Aguirre-Aguirre, 526 U.S.
     415 (1999). To establish eligibility for withholding of removal, a respondent must show that there
     is a clear probability of persecution in the country designated for removal on account of race,
     religiou, nationality, membership in a particular social group, or political opinion. INS v. Stevie,
     467 U.S. 407 (1984). Such a showing requires that the respondent establish that it is more likely
     than not (i.e., a clear probability) that the alien would be subject to persecution if returned to the
     country from which the alien seeks withholding of removal. INS v. Cardoza-Fonseca, 480 U.S.
     42 I, 423 (I 987). The standard for withholding of removal is thus more stringent than the standard
     for asylum. Stevie, 467 U.S. at 429-430. Under the withholding ofremoval regulations at 8 C-F.R.
     § l 208. l 6(b)(I), however, if an applicant has suffered past persecution, then there is a presumption
     that the applicant's life or freedom would be threatened in the future in the countty of removal.
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      Classes A.I and B.I apply only to individuals who are not in removal proceedings. See Mendez
     Rojas, 305 F. Supp. 3d at 1179.
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     Case 8:25-cv-00951-PX             Document 211-7          Filed 07/02/25        Page 8 of 15




        i.      Past Persecution
        Persecution has been interpreted to include serious threats to an individual's life or
freedom, or the infliction of significant harm on the applicant. See Matter ofAcosta, 19 l&N Dec.
211 (BIA 1985); Liv. Gonzales, 405 F.3d 171 (4 th Cir. 2005). Persecution is generally assessed
cumulatively, and relevant incidents are not to be evaluated in isolation. See Baharon v. Holder,
588 F.3d 228 (4 th Cir. 2009). A death threat qualifies as persecution. See Crespin-Valladares v.
Holder, 632 F.3d 117 (4th Cir. 201 I). Extortion may constitute persecution, even if physical harm
will be inflicted only upon failure to pay. Oliva v. Lynch, 807 F.3d 53 (4 th Cir. 2015).
        The Respondent suffered past persecution as he was threatened with death on more than
one occasion. Therefore, DHS bears the burden of establishing "a fundamental change in
circumstances such that the applicant's life or freedom would not be threatened on account of any
of the five grounds" or that "[t]he applicant could avoid a future threat to his or her life or freedom
by relocating to another part of the proposed country of removal and, under all the circumstances,
it would be reasonable to expect the applicant to do so." See 8 C.F.R. § 1208.16(b)(l).
       The "one central reason" standard that applies to asylum applications pursuant to section
208(b)(l)(B)(i) of the Immigration and Nationality Act, 8 U.S.C. § 1158(b)(l)(B)(i) (2006), also
applies to applications for withholding ofremoval under section 24I(b)(3)(A) of the Act, 8 U.S.C.
§ 123l(b)(3)(A) (2006). Matter of C-T-L-, 25 I&N Dec. 341 (BIA 2010). An applicant must
demonstrate that a statutorily protected ground would be "at least one central reason" for the feared
persecution. See INA § 208(b)(1 )(B)(i); Matter ofJ-B-N- & S-M-, 24 I&N Dec. 208 (BIA 2007)
(holding that in a mixed motive asylum case, an applicant must prove that race, religion,
nationality, membership in a particular social group, or political opinion was or will be at least one
central reason for the claimed persecution). An alien need not show that a statutorily protected
ground would be the central reason or even a dominant central reason, but rather must show that
such a ground was more than an "incidental, tangential, superficial or subordinate" reason for the
past persecution or feared future persecution. Matter ofJ-B-N- & S-M-, 24 I&N Dec. at 214; see
also Crespin-Valladares v. Holder, 632 F.3d 117 (4th Cir.2011); Quinteros-Mendoza v. Holder,
556 F.3d 159, 164 (4th Cir. 2009). Persecution may be on account of multiple central reasons or
intertwined reasons, and the full factual context must be taken into account when analyzing nexus.
Oliva v. Lynch, 807 FJd 53 (4 th Cir. 2015).



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          Case 8:25-cv-00951-PX           Document 211-7          Filed 07/02/25       Page 9 of 15




             ii.    Well-Founded Fear of Future Persecution and Internal Relocation
             Based on the above, the Respondent has demonstrated the he was subject to past
     persecution on account of a statutorily protected ground. He is entitled to the presumption under
     the regulations that he would have a clear probability of future persecution on account of a
     protected ground. Given his testimony and other evidence concerning official corruption and other
     abuses, he has demonstrated that authorities were and would be unable or unwilling to protect him
     from past or feared future persecution. Given country conditions and the Respondent's inability to
     avoid the threat through internal relocation, the Respondent could not necessarily avoid the threat
     through internal relocation, nor would it be reasonable to expect him to do so. DHS has failed to
     carry their burden to show that there are changed circumstances in Guatemala that would result in
     the Respondent's life not being threatened, or that internal relocation is possible and reasonable.
     Toe facts here show that the Barrio 18 gang continues to threaten and harass the Abrego family
     over these several years, and does so even though the family has moved three times. 5
            iii.    Nexus to a Protected Ground
            To be cognizable under the statute, members of a "particular social group" must share a
     "common immutable characteristic," which may be an innate characteristic or a shared past
     experience. Matter ofA-B-, 27 I&N Dec. 316 (A.G. 2018). In either case, it must be a characteristic
     that members of the group either cannot change or should not be required to change. To constitute
     a "particular social group" under the statute, the group must be (I) composed of members who
     share a common immutable characteristic, (2) defined with particularity, and (3) socially distinct
     within the society in question. See Matter ojA-B-, 27 I&N Dec. 316 (married women in Guatemala
     who are unable to leave their relationships do not constitute a particular social group); Matter of
     W-G-R-, 26 I&N Dec. 208 (BIA 2014) (former members of Mara 18 gang in El Salvador who
     renounced gang membership do not constitute a particular social group); Matter ofM-E-V-G-, 26
     I&N Dec. 227 (BIA 2014); Matter ofC-A-, 23 I&N Dec. 951 (BIA 2006) (former noncriminal
     drug infonnants do not present a cognizable social group); Matter of Acosta, 19 I&N Dec.211
     (BIA 1985)•
            Under well-established Fourth Circuit precedent, family ties may provide the basis for a


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      The court understands that the family's moves have been only 15 minutes away each time.
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     However, DHS has failed to show that internal relocation is not only possible, but reasonable to
     expect the Respondent to so relocate.
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         Case 8:25-cv-00951-PX            Document 211-7          Filed 07/02/25       Page 10 of 15




     cognizable particular soc1al group under the INA. See, e.g., Crespin-Valladares v. Holder, 632
     F.3d 117, 124-126 (4th Cir. 2011) ("we can conceive of few groups more readily identifiable than
     the family"); Hernandez-Avalos v. Lynch, 784 F.3d 944, 949 (4 th Cir. 2015) ("membersh;p in a
     nuclear family qualifies as a protected ground for asylum purposes"); Cruz v. Sessions, 853 F.3d
     122, 127 (4 th Cir. 2017) ("by virtue of her domestic partnership with Martinez, Cantillano Cruz
     was a member of a cognizable particular social group, namely, 'the nuclear family of Johnny
     Martinez"'): Salgado-Sosa v. Sessions, 882 F.3d 451,457 (4u' Cir. 2018) ("Salgado-Sosa's family
     qualifies as a 'particular social group,' protected for purposes of his asylum and withholding of
     removal claims"). Neither those who resist recruitment efforts by gangs nor their family members
     generally constitute a particular social group under the INA, nor do such bases amount to political
     opinion. See Matter ofS-E-G-, 24 I&N Dec. 579 (BIA 2008); see also INS v. Elias-Zacarias, 502
     U.S. 478 (1992) (forced recrmtment or attempts to forcibly recruit into a guerrilla organization
     does not necessarily constitute persecut1011 on accow1t of political opinion). Membership or
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     perceived membership in a criminal gang also does not constitute memberslup in a particular social
     group under the INA. See Matter of E-A-G-, 24 I&N Dec. 591 (BIA 2008); see also Lizama v.
     Holder, 629 F.3d 440 (4th Cir. 2011) (claimed particular social group of"young, Americanized,
     well-off Salvadoran male deportees with criminal histories who oppose gangs" not cognizable
     under the INA). At the same time, the BIA has noted that social group determinations are made on
     a case by case basis. Matter of M-E-V-G-, 26 I&N Dec. 227.
            Ascertaining whether membership in a family-based social group is at least one central
     reason for any past or feared future persecut10n may present challenges, and the Fourth Circuit has
     encouraged an expansive view of nexus in these cases. See Hernandez-Avalos v. Lynch, 784 F.3d
     944 (4 th Cir. 2015) (mother who refused to allow her son to join a gang was persecuted on account
     of her membership in the particular social group of his family); Cruz v. Sessions, 853 F.3d 122 (4th
     Cir. 2017) (nexus to family relationship established because wife of murdered man was more likely
     than others to search for her husband, confront the suspect, and express an intent to go to the
     police); Salgado-Sosa v. Sessions, 882 F.3d 451 (4 th Cir. 2018) (nexus found where man fought
     back when he was in his family's home dming attack targeted at stepfather because membership
     in the family was why the man and not some other person became involved); but see Velasquez v.
     Sessions, 866 F.3d 188 (4 th Cir. 2017) (personal dispute among family members may not equate
     to persecution on account of family group membership); Matter ofA-B-, 27 I&N Dec. at 338-339;

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          Case 8:25-cv-00951-PX             Document 211-7           Filed 07/02/25        Page 11 of 15




     Cortez-Mendez v. Whitaker, 912 F.3d 205 (4th Cir. 2019) (circwnstantial evidence presented did
     not establish as a factual matter that the respondent's relationship to his father was at least one
     central reason for his mistreatment by gang members who sought to forcibly recruit !um).
             The evidence in this case indicates qmte clearly that at least one central reason the
     Respondent was subject to past persecution was due to him being his mothers' son, essentially as
     a member of his nuclear family. That the Respondent is his mothers' son is the reason why he, and
     not another person, was threatened with death. He was threatened with death because he was
     Ceciha's son and the Barrio 18 gang targeted the Respondent to get at the mother and her earnings
     from the pupusa busmess. Pursuant to unambiguous and repeated guidance from the Fourth
     Circuit, the nexus requirement is satisfied in this case. See generally Hernandez-Avalos v. Lynch,
     784 F.3d at 944; Cruz v. Sessions, 853 F.3d at 122; Salgado-Sosa v. Sessions, 882 F.3d at 451.
            The Court finds that the Respondent's proposed social group, "Immediate Family Members
     of the Abrego Family," essentially his nuclear family, is cognizable. Membership in this family
     group is immutable. It is also sufficiently particular, as it is clearly delineated and easy to determine
     who is and 1s not in the group, and it is socially distinct.
            With respect to social distinction, the immediate family lived m the same home, and his
     mother ran a pupusa business. Neighbors and others in the community recognized the family as a
     distinct group that was related, and ran a family business. Everyone knew that Cecilia Abrego was
     where you purchased your pupusas and that if you could not make it to the family's home, then
     the Respondent would deliver the pupusas to your house four days a week. As with many other
     precedential cases involving immediate family members, the proposed social group in this case
     too satisfies all of the legal requirements for recognition as a cognizable social group. Cf Crespin-
     Valladares v. Holder, 632 F.3d at 124-126; Hernandez-Avalos v. Lynch, 784 F.3d at 949; Cruz v.
     Sessions, 853 FJd at 127; and Salgado-Sosa v. Sessions, 882 F.3d at 457.
            This finding~that the Abrego family was socially distinct---does not run afoul of the
     Attorney General's (AG) recent case, Matter of L-E-A-, 27 I&N Dec. 581 (A.G. 2019). In that
     case, the AG did not bar all family-based social groups from qualifying from relief. Id. at 595.
     Rather, the AG required that"[a]n applicant must establish that his specific family group is defined
     with sufficient paiiicularity and is socially distinct in his society." Id at 586. This case is a close
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     call. But, the Court finds that the Respondent has established that Cecilia's family pupusa business
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     was well-known in the community and therefore the family was socially distinct in society.

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          Case 8:25-cv-00951-PX           Document 211-7           Filed 07/02/25        Page 12 of 15




            C.      Relief from Removal Under CAT
            The applicant for withholding of removal under the CAT bears the burden of proving that
    it is "more likely than not" that he or she would be tortured if removed to the proposed country of
    removal. 8 C.F.R. § 1208.16(c)(2). An applicant who establishes that he or she is entitled to CAT
    protection shall be granted withholding of removal unless he is subject to mandatory denial of that
    relief, in which case he shall be granted deferral ofremoval. 8 C.F.R. §§ 1208.l6(c)(4), 1208.l ?(a).
    An applicant is subject to mandatory denial of withholding of removal under the CAT if that
    individual has participated in the persecution of others, has been convicted of a particularly serious
    crime, has committed a serious nonpolitical crime outside of the U.S., or is a danger to U.S.
    national security. Under applicable provisions of law at 8 C.F.R. § 1208.l6(d) and INA §
    241(b)(3)(B), an alien who has been convicted of an aggravated felony for which the alien was
    sentenced to an aggregate term of imprisonment of at least five years is considered to have been
    convicted of a particularly serious crime. That does not preclude other crimes from being
    considered particularly serious crimes.
            "Torture" 18 defined in the treaty and at 8 C.F.R. § 1208.I S(ai ). It is defined in part as
    the intentional infliction of severe physical or mental pain or suffering by, or at the instigation of,
    or with the consent or acquiescence of a public official. Acquiescence of a public official requires
    that the official have awareness of or remain willfully blind to the activity constituting torture prior
    to its commission, and thereafter breach his or her legal responsibility to intervene to prevent such
    activity. See 8 C.F.R. § 1208.18(a)(7).
            To qualify for protection under the CAT, "specific grounds must exist that indicate the
    individual would be personally at risk." Matter ofS-V-, 22 I&N Dec. 1306, 1313 (BIA 2000). The
    mere existence of a pattern of human rights violations in a particular country does not constitute a
    sufficient ground for fmding that a particular person would be more likely than not to be tortured.
    Id.
            In assessing the likelihood of future torture, the Court must consider all evidence relevant
    to the possibility of future torture, including: evidence of past torture inflicted upon the applicant;
    evidence that the applicant could relocate to a part of the country of removal where he is not likely
    to be tortured; evidence of gross, flagrant or mass violations of human rights within the country of
    removal; or other relevant information of conditions in the country of removal. 8 C.F.R. §
    1208.16(c)(3). In order for an alien to meet the burden ofprooffor relief under the CAT, he or she
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          Case 8:25-cv-00951-PX            Document 211-7          Filed 07/02/25       Page 13 of 15




     must demonstrate that each step in the necessary chain of events is more likely than not to happen.
     Matter of J-F-F-, 23 l&N Dec. 912 (A.G. 2006). Under Fourth Circuit precedent, the ris\ of
     torture from all sources must be aggregated when determining whether an individual is more likely
     than not to be tortured iu a particular country. Rodriguez-Arias v. Whitaker, 915 F.3d 968 (4 th Cir.
     2019).
              Instances of police brutality do not necessarily rise to the level of torture, nor does the
     indefinite detention of criminal deportees in substandard conditions. Matter ofJ-E-, 23 I&N Dec.
     291, 301-02 (BIA 2002) (indefinite detention of crimiual deportees in substandard conditions in
     Haiti does not constitute torture where there is no evidence that government officials intentionally
     and deliberately detain deportees under such conditions in order to inflict torture). Abusive or
     squalid conditions in pretrial detention facilities, p1isons, or mental health institutions will not
     constitute torture when those conditions occur due to neglect, a lack of resources, or insufficient
     training and education, rather than a specific intent to cause severe pain and suffering. Matter of
     J-R-G-P-, 27 I&N Dec. 482 (BIA 2018).
              Torture must come at the hands of the government. Matter ofS-V-, 22 l&N Dec. at 1311-
     12. This can include acquiescence of officials proVIded it meets the conditions set out in the
     regulations at 8 C.F .R. § 1208.18(a)(7) ("Acquiescence of a public official reqmres that the public
     official, prior to the actiVIty constituting torture, have awareness of such activity and thereafter
     breach his or her legal responsibility to intervene to prevent such activity"). Awareness can include
     actual knowledge and willful blindness. See Senate Exec. Rep. 101-30 at 9 (1990); see also Matter
     of S-V-, 22 l&N Dec. at 1312. In Matter of S-V-, the BIA elaborated that a respondent needs to
     show more than that government officials are aware of the activity and powerless to stop it and
     needs to show tbat government officials are willfully accepting of the activ;ty. Matter ofS-V-, 22
     I&N Dec. at 1311-1312. Following Matter ofS-V-, the Attorney General, in Matter ofY-L-, A-G-
     ' & R-S-R-, 23 I&N Dec. 270 (A.G. 2002), elaborated on the definition of acquiescence and
     indicated that the relevant inquiry is "whether governmental authorities would approve or
     ·wll!fully accept' atrocities committed." Id. at 283.6
               The Fourth Circuit has clarified that "willful blindness can satisfy the acquiescence

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:;     That decision noted in part that it would not suffice for a respondent to show that isolated,
~    rogue government agents were involved in atrocities despite a government's best efforts to root
     out misconduct.
      Case 8:25-cv-00951-PX          Document 211-7          Filed 07/02/25       Page 14 of 15




component of 8 C.F.R. § 1208.18(a)(I)." See Suarez-Valenzuela v. Holder, 714 F.3d 241, 246 (4 th
Cir. 2013). Pursuant to the willful blindness standard, government officials acquiesce to torture
when they have actual knowledge of or turn a blind eye to torture. Id. at 245-246.
        Decisions regarding an alien's likely future mistreatment are factual determinations subject
to review only for clear error; the deterrmnation as to whether any such mistreatment constitutes
torture as a legal matter is subject to de novo review. Turkson v. Holder, 667 F.3d 523 (4 th Cir.
2012); see also Kaplun v. Attorney General, 602 F.3d 260 (3d Cir. 2010). Whether the government
would acquiesce in any future torture is likewise a mixed question of law and fact. Cruz-
Quintanilla v. Whitaker, 914 F.3d 884 (4 th Cir. 2019).
        Here, the Respondent has not shown that it is "more likely than not" that he would be
tortured ifhe were to be removed to El Salvador.


IV.     Conclusion
        The Respondent's application for asylum is time-barred without exception. However' he
has established past persecution based on a protected ground, and the presumption of a well-
founded fear of future persecution. DHS has not shown there are changed circumstances in
Guatemala that would result in the Respondent's life not being threatened, or that internal
relocation is possible and reasonable under the circumstances. Therefore, the Respondent's
application for withholding under the Act is granted. Finally, his CAT chum fails because he has
not shown that he would suffer torture.




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          Case 8:25-cv-00951-PX            Document 211-7         Filed 07/02/25       Page 15 of 15




                                                      ORDER
     It is hereby ordered that:
               I.       the Respondent's application for asylum pursuant to INA§ 208 is DENIED;
              IL        the Respondent's application for withholding of removal pursuant to INA §
                        24l(b)(3) is GRANTED; and
             III.       the Respondent's application for withholding of removal under the Convention
                        Against Torture is DENI ED;




       /c, /17) /21
     Date ~         I                                       David M. Jones
                                                            United States Immigra
                                                            Baltimore, Maryland

     Appeal Rights
     Each party has the right to appeal this Court's decision to the Board oflmmigration Appeals. Any
     appeal must be filed within 30 calendar days of the mailing of tjus decision. Under the regulations,
     a notice of appeal must be received by the Board by that deadline. The notice of appeal must also
     state the reasons for the appeal. See 8 C.F.R. § 1240.15.




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